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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

TRUE THE VOTE, INC.,

                                       Plaintiff,

v.                                                  Civ. No. 13-cv-00734-RBW

INTERNAL REVENUE SERVICE, et al.,

                                   Defendants.

                                      [PROPOSED] ORDER

       Upon consideration of the Motion of D. Victoria Baranetsky for Admission Pro Hac Vice

made pursuant to Rule 83.2(c) of the Local Rules of this Court and the supporting declaration and

certificate of good standing, it is hereby

       ORDERED that the motion be and hereby is GRANTED.

DATED: ______________.




                                               THE HONORABLE REGGIE B. WALTON
                                               UNITED STATES DISTRICT JUDGE
